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13

14                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
15
                             OAKLAND DIVISION
16
     SAN FRANCISCO AIDS FOUNDATION, et                 Case No. 4:25-cv-1824-JTS
17   al.;
                                                       DECLARATION OF JOSE ABRIGO IN
18                                   Plaintiffs,
                                                       SUPPORT OF PLAINTIFFS’ MOTION
                                                       FOR PRELIMINARY INJUNCTION
19         v.
20   DONALD J. TRUMP, in his official capacity as
       President of the United States, et al.
21

22                                   Defendants.


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                      DECLARATION OF JOSE ABRIGO ISO PLAINTIFFS’ MOTION FOR
                         PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
          Case 4:25-cv-01824-JST          Document 47-11        Filed 03/03/25         Page 2 of 16




 1          I, Jose Abrigo, hereby state as follows:

 2          1.      I am an attorney admitted to practice in the Northern District of California pro hac

 3   vice. See Dkt. No. 30. I am a Senior Attorney at Lambda Legal Defense and Education Fund and

 4   counsel for Plaintiffs San Francisco Aids Foundation, et. al, in the above-referenced litigation. I

 5   have personal knowledge of the matters stated herein and am competent to testify thereto. I submit

 6   this Declaration in support of Plaintiffs’ Motion for a Preliminary Injunction.

 7          2.      Attached hereto as Exhibit A is a true and correct copy of Executive Order 14,168,

 8   Defending Women From Gender Ideology Extremism and Restoring Biological Truth to the

 9   Federal Government, 90 Fed. Reg. 8,650 (Jan. 20, 2025) (“Gender Order”).

10          3.      Attached hereto as Exhibit B is a true and correct copy of Executive Order 14,151,

11   Ending Radical and Wasteful DEI Programs and Preferencing, 90 Fed. Reg. 8,339 (Jan. 20, 2025)

12   (“DEI-1 Order”).

13          4.      Attached hereto as Exhibit C is a true and correct copy of Executive Order 14,173,

14   Ending Illegal Discrimination and Restoring Merit-Based Opportunity, 90 Fed. Reg. 8,633 (Jan.

15   21, 2025) (“DEI-2 Order”).

16          Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

17   true and correct. Executed on February 28, 2025.

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20                                                     Jose Abrigo
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                                          -1-
27               DECLARATION OF JOSE ABRIGO ISO PLAINTIFFS’ MOTION FOR
                    PRELIMINARY INJUNCTION, CASE NO. 4:25-cv-1824-JTS
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                              Gender ideology includes the idea that there is a vast spectrum of genders
                              that are disconnected from one’s sex. Gender ideology is internally incon-
                              sistent, in that it diminishes sex as an identifiable or useful category but
                              nevertheless maintains that it is possible for a person to be born in the
                              wrong sexed body.
                                (g) ‘‘Gender identity’’ reflects a fully internal and subjective sense of
                              self, disconnected from biological reality and sex and existing on an infinite
                              continuum, that does not provide a meaningful basis for identification and
                              cannot be recognized as a replacement for sex.
                              Sec. 3. Recognizing Women Are Biologically Distinct From Men. (a) Within
                              30 days of the date of this order, the Secretary of Health and Human
                              Services shall provide to the U.S. Government, external partners, and the
                              public clear guidance expanding on the sex-based definitions set forth in
                              this order.
                                (b) Each agency and all Federal employees shall enforce laws governing
                              sex-based rights, protections, opportunities, and accommodations to protect
                              men and women as biologically distinct sexes. Each agency should therefore
                              give the terms ‘‘sex’’, ‘‘male’’, ‘‘female’’, ‘‘men’’, ‘‘women’’, ‘‘boys’’ and ‘‘girls’’
                              the meanings set forth in section 2 of this order when interpreting or
                              applying statutes, regulations, or guidance and in all other official agency
                              business, documents, and communications.
                                (c) When administering or enforcing sex-based distinctions, every agency
                              and all Federal employees acting in an official capacity on behalf of their
                              agency shall use the term ‘‘sex’’ and not ‘‘gender’’ in all applicable Federal
                              policies and documents.
                                (d) The Secretaries of State and Homeland Security, and the Director
                              of the Office of Personnel Management, shall implement changes to require
                              that government-issued identification documents, including passports, visas,
                              and Global Entry cards, accurately reflect the holder’s sex, as defined under
                              section 2 of this order; and the Director of the Office of Personnel Manage-
                              ment shall ensure that applicable personnel records accurately report Federal
                              employees’ sex, as defined by section 2 of this order.
                                (e) Agencies shall remove all statements, policies, regulations, forms, com-
                              munications, or other internal and external messages that promote or other-
                              wise inculcate gender ideology, and shall cease issuing such statements,
                              policies, regulations, forms, communications or other messages. Agency forms
                              that require an individual’s sex shall list male or female, and shall not
                              request gender identity. Agencies shall take all necessary steps, as permitted
                              by law, to end the Federal funding of gender ideology.
                                (f) The prior Administration argued that the Supreme Court’s decision
                              in Bostock v. Clayton County (2020), which addressed Title VII of the
                              Civil Rights Act of 1964, requires gender identity-based access to single-
                              sex spaces under, for example, Title IX of the Educational Amendments
                              Act. This position is legally untenable and has harmed women. The Attorney
                              General shall therefore immediately issue guidance to agencies to correct
                              the misapplication of the Supreme Court’s decision in Bostock v. Clayton
                              County (2020) to sex-based distinctions in agency activities. In addition,
                              the Attorney General shall issue guidance and assist agencies in protecting
                              sex-based distinctions, which are explicitly permitted under Constitutional
                              and statutory precedent.
                                (g) Federal funds shall not be used to promote gender ideology. Each
                              agency shall assess grant conditions and grantee preferences and ensure
                              grant funds do not promote gender ideology.
                              Sec. 4. Privacy in Intimate Spaces. (a) The Attorney General and Secretary
                              of Homeland Security shall ensure that males are not detained in women’s
                              prisons or housed in women’s detention centers, including through amend-
                              ment, as necessary, of Part 115.41 of title 28, Code of Federal Regulations
                              and interpretation guidance regarding the Americans with Disabilities Act.
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                         (b) The Secretary of Housing and Urban Development shall prepare and
                       submit for notice and comment rulemaking a policy to rescind the final
                       rule entitled ‘‘Equal Access in Accordance with an Individual’s Gender
                       Identity in Community Planning and Development Programs’’ of September
                       21, 2016, 81 FR 64763, and shall submit for public comment a policy
                       protecting women seeking single-sex rape shelters.
                          (c) The Attorney General shall ensure that the Bureau of Prisons revises
                       its policies concerning medical care to be consistent with this order, and
                       shall ensure that no Federal funds are expended for any medical procedure,
                       treatment, or drug for the purpose of conforming an inmate’s appearance
                       to that of the opposite sex.
                          (d) Agencies shall effectuate this policy by taking appropriate action to
                       ensure that intimate spaces designated for women, girls, or females (or
                       for men, boys, or males) are designated by sex and not identity.
                       Sec. 5. Protecting Rights. The Attorney General shall issue guidance to
                       ensure the freedom to express the binary nature of sex and the right to
                       single-sex spaces in workplaces and federally funded entities covered by
                       the Civil Rights Act of 1964. In accordance with that guidance, the Attorney
                       General, the Secretary of Labor, the General Counsel and Chair of the Equal
                       Employment Opportunity Commission, and each other agency head with
                       enforcement responsibilities under the Civil Rights Act shall prioritize inves-
                       tigations and litigation to enforce the rights and freedoms identified.
                       Sec. 6. Bill Text. Within 30 days of the date of this order, the Assistant
                       to the President for Legislative Affairs shall present to the President proposed
                       bill text to codify the definitions in this order.
                       Sec. 7. Agency Implementation and Reporting. (a) Within 120 days of the
                       date of this order, each agency head shall submit an update on implementa-
                       tion of this order to the President, through the Director of the Office of
                       Management and Budget. That update shall address:
                          (i) changes to agency documents, including regulations, guidance, forms,
                          and communications, made to comply with this order; and
                         (ii) agency-imposed requirements on federally funded entities, including
                         contractors, to achieve the policy of this order.
                         (b) The requirements of this order supersede conflicting provisions in
                       any previous Executive Orders or Presidential Memoranda, including but
                       not limited to Executive Orders 13988 of January 20, 2021, 14004 of January
                       25, 2021, 14020 and 14021 of March 8, 2021, and 14075 of June 15, 2022.
                       These Executive Orders are hereby rescinded, and the White House Gender
                       Policy Council established by Executive Order 14020 is dissolved.
                         (c) Each agency head shall promptly rescind all guidance documents incon-
                       sistent with the requirements of this order or the Attorney General’s guidance
                       issued pursuant to this order, or rescind such parts of such documents
                       that are inconsistent in such manner. Such documents include, but are
                       not limited to:
                         (i) ‘‘The White House Toolkit on Transgender Equality’’;
                         (ii) the Department of Education’s guidance documents including:
                           (A) ‘‘2024 Title IX Regulations: Pointers for Implementation’’ (July 2024);
                           (B) ‘‘U.S. Department of Education Toolkit: Creating Inclusive and Non-
                         discriminatory School Environments for LGBTQI+ Students’’;
                           (C) ‘‘U.S. Department of Education Supporting LGBTQI+ Youth and
                         Families in School’’ (June 21, 2023);
                           (D) ‘‘Departamento de Educación de EE.UU. Apoyar a los jóvenes y
                         familias LGBTQI+ en la escuela’’ (June 21, 2023);
                           (E) ‘‘Supporting Intersex Students: A Resource for Students, Families,
                         and Educators’’ (October 2021);
                           (F) ‘‘Supporting Transgender Youth in School’’ (June 2021);
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                                           (G) ‘‘Letter to Educators on Title IX’s 49th Anniversary’’ (June 23, 2021);
                                           (H) ‘‘Confronting Anti-LGBTQI+ Harassment in Schools: A Resource
                                         for Students and Families’’ (June 2021);
                                           (I) ‘‘Enforcement of Title IX of the Education Amendments of 1972
                                         With Respect to Discrimination Based on Sexual Orientation and Gender
                                         Identity in Light of Bostock v. Clayton County’’ (June 22, 2021);
                                          (J) ‘‘Education in a Pandemic: The Disparate Impacts of COVID–19 on
                                         America’s Students’’ (June 9, 2021); and
                                           (K) ‘‘Back-to-School Message for Transgender Students from the U.S.
                                         Depts of Justice, Education, and HHS’’ (Aug. 17, 2021);
                                         (iii) the Attorney General’s Memorandum of March 26, 2021 entitled ‘‘Ap-
                                         plication of Bostock v. Clayton County to Title IX of the Education Amend-
                                         ments of 1972’’; and
                                         (iv) the Equal Employment Opportunity Commission’s ‘‘Enforcement Guid-
                                         ance on Harassment in the Workplace’’ (April 29, 2024).
                                       Sec. 8. General Provisions. (a) Nothing in this order shall be construed
                                       to impair or otherwise affect:
                                         (i) the authority granted by law to an executive department or agency,
                                         or the head thereof; or
                                         (ii) the functions of the Director of the Office of Management and Budget
                                         relating to budgetary, administrative, or legislative proposals.
                                         (b) This order shall be implemented consistent with applicable law and
                                       subject to the availability of appropriations.
                                         (c) This order is not intended to, and does not, create any right or benefit,
                                       substantive or procedural, enforceable at law or in equity by any party
                                       against the United States, its departments, agencies, or entities, its officers,
                                       employees, or agents, or any other person.
                                         (d) If any provision of this order, or the application of any provision
                                       to any person or circumstance, is held to be invalid, the remainder of
                                       this order and the application of its provisions to any other persons or
                                       circumstances shall not be affected thereby.




                                       THE WHITE HOUSE,
                                       January 20, 2025.


[FR Doc. 2025–02090
Filed 1–29–25; 11:15 am]
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                                  (B) Federal contractors who have provided DEI training or DEI training
                                 materials to agency or department employees; and
                                   (C) Federal grantees who received Federal funding to provide or advance
                                 DEI, DEIA, or ‘‘environmental justice’’ programs, services, or activities
                                 since January 20, 2021.
                                 (iii) direct the deputy agency or department head to:
                                   (A) assess the operational impact (e.g., the number of new DEI hires)
                                 and cost of the prior administration’s DEI, DEIA, and ‘‘environmental
                                 justice’’ programs and policies; and
                                   (B) recommend actions, such as Congressional notifications under 28
                                U.S.C. 530D, to align agency or department programs, activities, policies,
                                regulations, guidance, employment practices, enforcement activities, con-
                                tracts (including set-asides), grants, consent orders, and litigating positions
                                with the policy of equal dignity and respect identified in section 1 of
                                this order. The agency or department head and the Director of OMB
                                shall jointly ensure that the deputy agency or department head has the
                                authority and resources needed to carry out this directive.
                                (c) To inform and advise the President, so that he may formulate appro-
                              priate and effective civil-rights policies for the Executive Branch, the Assist-
                              ant to the President for Domestic Policy shall convene a monthly meeting
                              attended by the Director of OMB, the Director of OPM, and each deputy
                              agency or department head to:
                                (i) hear reports on the prevalence and the economic and social costs
                                of DEI, DEIA, and ‘‘environmental justice’’ in agency or department pro-
                                grams, activities, policies, regulations, guidance, employment practices,
                                enforcement activities, contracts (including set-asides), grants, consent or-
                                ders, and litigating positions;
                                 (ii) discuss any barriers to measures to comply with this order; and
                                (iii) monitor and track agency and department progress and identify poten-
                                tial areas for additional Presidential or legislative action to advance the
                                policy of equal dignity and respect.
                              Sec. 3. Severability. If any provision of this order, or the application of
                              any provision to any person or circumstance, is held to be invalid, the
                              remainder of this order and the application of its provisions to any other
                              persons or circumstances shall not be affected.
                              Sec. 4. General Provisions. (a) Nothing in this order shall be construed
                              to impair or otherwise affect:
                                (i) the authority granted by law to an executive department or agency,
                                or the head thereof; or
                                (ii) the functions of the Director of the Office of Management and Budget
                                relating to budgetary, administrative, or legislative proposals.
                                (b) This order shall be implemented consistent with applicable law and
                              subject to the availability of appropriations.
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                                        (c) This order is not intended to, and does not, create any right or benefit,
                                      substantive or procedural, enforceable at law or in equity by any party
                                      against the United States, its departments, agencies, or entities, its officers,
                                      employees, or agents, or any other person.




                                      THE WHITE HOUSE,
                                      January 20, 2025.


[FR Doc. 2025–01953
Filed 1–28–25; 8:45 am]
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                  EXHIBIT C
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                                (i) Executive Order 12898 of February 11, 1994 (Federal Actions to Address
                                Environmental Justice in Minority Populations and Low-Income Popu-
                                lations);
                                (ii) Executive Order 13583 of August 18, 2011 (Establishing a Coordinated
                                Government-wide Initiative to Promote Diversity and Inclusion in the
                                Federal Workforce);
                                (iii) Executive Order 13672 of July 21, 2014 (Further Amendments to
                                Executive Order 11478, Equal Employment Opportunity in the Federal
                                Government, and Executive Order 11246, Equal Employment Opportunity);
                                and
                                (iv) The Presidential Memorandum of October 5, 2016 (Promoting Diversity
                                and Inclusion in the National Security Workforce).
                                (b) The Federal contracting process shall be streamlined to enhance speed
                              and efficiency, reduce costs, and require Federal contractors and subcontrac-
                              tors to comply with our civil-rights laws. Accordingly:
                                (i) Executive Order 11246 of September 24, 1965 (Equal Employment
                                Opportunity), is hereby revoked. For 90 days from the date of this order,
                                Federal contractors may continue to comply with the regulatory scheme
                                in effect on January 20, 2025.
                                (ii) The Office of Federal Contract Compliance Programs within the Depart-
                                ment of Labor shall immediately cease:
                                  (A) Promoting ‘‘diversity’’;
                                   (B) Holding Federal contractors and subcontractors responsible for taking
                                ‘‘affirmative action’’; and
                                  (C) Allowing or encouraging Federal contractors and subcontractors to
                                engage in workforce balancing based on race, color, sex, sexual preference,
                                religion, or national origin.
                                (iii) In accordance with Executive Order 13279 of December 12, 2002
                                (Equal Protection of the Laws for Faith-Based and Community Organiza-
                                tions), the employment, procurement, and contracting practices of Federal
                                contractors and subcontractors shall not consider race, color, sex, sexual
                                preference, religion, or national origin in ways that violate the Nation’s
                                civil rights laws.
                                (iv) The head of each agency shall include in every contract or grant
                                award:
                                  (A) A term requiring the contractual counterparty or grant recipient
                                to agree that its compliance in all respects with all applicable Federal
                                anti-discrimination laws is material to the government’s payment decisions
                                for purposes of section 3729(b)(4) of title 31, United States Code; and
                                   (B) A term requiring such counterparty or recipient to certify that it
                                does not operate any programs promoting DEI that violate any applicable
                                Federal anti-discrimination laws.
                                (c) The Director of the Office of Management and Budget (OMB), with
                              the assistance of the Attorney General as requested, shall:
                                (i) Review and revise, as appropriate, all Government-wide processes,
                                directives, and guidance;
                                (ii) Excise references to DEI and DEIA principles, under whatever name
                                they may appear, from Federal acquisition, contracting, grants, and finan-
                                cial assistance procedures to streamline those procedures, improve speed
                                and efficiency, lower costs, and comply with civil-rights laws; and
                                (iii) Terminate all ‘‘diversity,’’ ‘‘equity,’’ ‘‘equitable decision-making,’’ ‘‘eq-
                                uitable deployment of financial and technical assistance,’’ ‘‘advancing eq-
                                uity,’’ and like mandates, requirements, programs, or activities, as appro-
                                priate.
                              Sec. 4. Encouraging the Private Sector to End Illegal DEI Discrimination
                              and Preferences. (a) The heads of all agencies, with the assistance of the
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                       Attorney General, shall take all appropriate action with respect to the oper-
                       ations of their agencies to advance in the private sector the policy of indi-
                       vidual initiative, excellence, and hard work identified in section 2 of this
                       order.
                         (b) To further inform and advise me so that my Administration may
                       formulate appropriate and effective civil-rights policy, the Attorney General,
                       within 120 days of this order, in consultation with the heads of relevant
                       agencies and in coordination with the Director of OMB, shall submit a
                       report to the Assistant to the President for Domestic Policy containing rec-
                       ommendations for enforcing Federal civil-rights laws and taking other appro-
                       priate measures to encourage the private sector to end illegal discrimination
                       and preferences, including DEI. The report shall contain a proposed strategic
                       enforcement plan identifying:
                         (i) Key sectors of concern within each agency’s jurisdiction;
                         (ii) The most egregious and discriminatory DEI practitioners in each sector
                         of concern;
                         (iii) A plan of specific steps or measures to deter DEI programs or principles
                         (whether specifically denominated ‘‘DEI’’ or otherwise) that constitute ille-
                         gal discrimination or preferences. As a part of this plan, each agency
                         shall identify up to nine potential civil compliance investigations of pub-
                         licly traded corporations, large non-profit corporations or associations,
                         foundations with assets of 500 million dollars or more, State and local
                         bar and medical associations, and institutions of higher education with
                         endowments over 1 billion dollars;
                         (iv) Other strategies to encourage the private sector to end illegal DEI
                         discrimination and preferences and comply with all Federal civil-rights
                         laws;
                         (v) Litigation that would be potentially appropriate for Federal lawsuits,
                         intervention, or statements of interest; and
                         (vi) Potential regulatory action and sub-regulatory guidance.
                       Sec. 5. Other Actions. Within 120 days of this order, the Attorney General
                       and the Secretary of Education shall jointly issue guidance to all State
                       and local educational agencies that receive Federal funds, as well as all
                       institutions of higher education that receive Federal grants or participate
                       in the Federal student loan assistance program under Title IV of the Higher
                       Education Act, 20 U.S.C. 1070 et seq., regarding the measures and practices
                       required to comply with Students for Fair Admissions, Inc. v. President
                       and Fellows of Harvard College, 600 U.S. 181 (2023).
                       Sec. 6. Severability. If any provision of this order, or the application of
                       any provision to any person or circumstance, is held to be invalid, the
                       remainder of this order and the application of its provisions to any other
                       persons or circumstances shall not be affected thereby.
                       Sec. 7. Scope. (a) This order does not apply to lawful Federal or private-
                       sector employment and contracting preferences for veterans of the U.S. armed
                       forces or persons protected by the Randolph-Sheppard Act, 20 U.S.C. 107
                       et seq.
                          (b) This order does not prevent State or local governments, Federal contrac-
                       tors, or Federally-funded State and local educational agencies or institutions
                       of higher education from engaging in First Amendment-protected speech.
                          (c) This order does not prohibit persons teaching at a Federally funded
                       institution of higher education as part of a larger course of academic instruc-
                       tion from advocating for, endorsing, or promoting the unlawful employment
                       or contracting practices prohibited by this order.
                       Sec. 8. General Provisions. (a) Nothing in this order shall be construed
                       to impair or otherwise affect:
                          (i) the authority granted by law to an executive department, agency, or
                          the head thereof; or
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                                          (ii) the functions of the Director of the Office of Management and Budget
                                          relating to budgetary, administrative, or legislative proposals.
                                          (b) This order shall be implemented consistent with applicable law and
                                        subject to the availability of appropriations.
                                          (c) This order is not intended to and does not create any right or benefit,
                                        substantive or procedural, enforceable at law or in equity by any party
                                        against the United States, its departments, agencies, or entities, its officers,
                                        employees, or agents, or any other person.




                                        THE WHITE HOUSE,
                                        January 21, 2025.


[FR Doc. 2025–02097
Filed 1–30–25; 8:45 am]
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